Name &Case   8:19-cr-00061-JVS Document 900 Filed 12/26/21 Page 1 of 1 Page ID #:22431
        Address:
H. Dean Steward SBN 85317, Advisory Counsel
17 Corporate Plaza Drive, Suite 254
Newport Beach, California 92660
deansteward7777@gmail.com
Advisory Counsel for Michael John Avenatti


                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
United States of America                                  CASE NUMBER:

                                                                            SA-CR-19-61-JVS
                                           PLAINTIFF(S)
                           v.
Michael John Avenatti                                              NOTICE OF MANUAL FILING
                                                                         OR LODGING
                                        DEFENDANT(S).

PLEASE TAKE NOTICE:
       Pursuant to Local Rule 5-4.2, the following document(s) or item(s) are exempt from electronic filing,
and will therefore be manually ✔ Filed          Lodged : (List Documents)
Declaration of Michael Avenatti with exhibit.




Reason:
✔     Under Seal
✔     In Camera
      Items not conducive to e-filing (i.e., videotapes, CDROM, large graphic charts)
✔     Per Court order dated:       August 27, 2020
          Other:




December 26, 2021                                          Dean Steward (Advisory Counsel)
Date                                                       Attorney Name
                                                           Michael John Avenatti
                                                           Party Represented


Note: File one Notice of Manual Filing or Lodging in each case, each time you manually submit a document(s).
G-92 (05/15)                           NOTICE OF MANUAL FILING OR LODGING
